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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    DAVID SAMBRANO, ET AL.,

         Plaintiffs,

    v.                                               No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                                  ORDER
       Before the Court is Plaintiffs’ Motion for Preliminary Injunction,
   filed September 22, 2021. ECF No. 5. The Court held a two-day
   evidentiary hearing on the Motion from October 13 to 14, 2021. See ECF
   No. 49. At this hearing, the parties referenced certain regulations and
   collective bargaining agreements that may be probative to the Court’s
   analysis of the Motion. For instance, the parties cited 14 C.F.R. § 117.3
   at the hearing as one such regulation. But the parties’ previous filings
   did not address these materials in sufficient depth. Nor did any
   representatives from the pertinent unions offer testimony or input on
   how these materials may impact the Court’s analysis. Indeed, in the
   present case, the unions thus far elected to remain silent.

      Accordingly, the Court ORDERS Plaintiffs and Defendant to file
   briefing to address the issues presented by regulations and collective
   bargaining agreements that are most germane to the Court’s analysis of
   the Motion, with a 15-page limit, by October 19, 2021 at 11:59 p.m.

         SO ORDERED on this 15th day of October, 2021.




                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE
